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                                            UNITED STATES DISTRICT COURT

                                            EASTERN DISTRICT OF LOUISIANA



            ATLANTIC SPECIALTY INSURANCE CO.                                   CASE NO. 17-cv-9318
            AND EXCESS UNDERWRITERS
            SUBSCRIBING SEVERALLY TO POLICY
            NO. TMU-407387                                                     JUDGE: ELDON E. FALLON

                         Plaintiff,                                            MAG.: JANIS VAN MEERVELD

            v.

            PHILLIPS 66 COMPANY,

                         Defendant.

                    PHILLIPS 66 COMPANY’S REPLY MEMORANDUM IN SUPPORT OF
                     MOTION FOR PARTIAL SUMMARY JUDGMENT (REC. DOC. 20)

                       Phillips 66’s Motion for Partial Summary Judgment on the applicability of

            9:2780.1 (Rec Doc. 20) should be granted because:

                       (1)     The pertinent facts which entitle Phillips 66 to summary judgment are not

                               disputed;

                       (2)     The interpretation of La. R. S. 9:2780.1 is a question of law; and

                       (3)     La. R.S. 9:2780.1(E) must be given meaning and cannot be ignored.1

                       Blanchard and Atlantic ignore La. R.S. 9:2780.1(E) and interpret La. R.S.

            9:2780.1 to swallow 9:2780 and its well-established “commingled for transportation”

            jurisprudence. Phillips 66’s interpretation of 9:2780.1 – i.e., that 9:2780.1 does not apply

            to agreements pertaining to the transportation of oil or gas beyond the point it has been

            1
                Shane v. Par. of Jefferson, 2014-2225 (La. 12/8/15), 209 So. 3d 726, 736


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            “commingled for transportation” – respects the clear language of 9:2780.1(E) and

            preserves well-established 9:2780 jurisprudence.

                       “[C]ourts are bound, if possible, to give effect to all parts of a statute and to

            construe no sentence, clause, or word as meaningless and surplusage if a construction

            giving force to, and preserving, all words can legitimately be found.”2 Furthermore,

            “legislative language [must] be interpreted on the assumption that the Legislature was

            aware of existing statutes, rules of construction, and judicial decisions interpreting those

            statutes.”3

                       The Legislature was well aware when enacting La. R.S. 9:2780.1 that the statute’s

            application could overlap with 9:2780 in the area of pipeline transportation.4 It was also

            well aware of 9:2780’s jurisprudence establishing that 9:2780 does not invalidate

            indemnity and insurance provisions in agreements pertaining to the transportation of oil,

            gas, or mineral production past the point of “commingling”5 To prevent the two statutes

            from overlapping, and to preserve 9:2780’s exclusion for agreements pertaining to the

            transportation of “commingled gas or oil,” the Legislature inserted Subparts (E) and

            (A)(2)(b)(ii) into La. R.S. 9:2780.1. These two key provisions of 9:2780.1 were designed

            to preserve the law that had developed under 9:2780 and to prevent agreements relating

            to pipeline transportation downstream from the point of “commingling” from falling


            2
                Shane, 209 So. 3d at 736.
            3
                State v. Bedford, 01-2298, p. 3 (La. 1/28/03), 838 So.2d 758, 760.
            4
             Included within 9:2780(C)’s definition of “agreement” are those related to the “… transportation of oil, gas,
            or water….” Thus, it is clear that there is overlap between the scope of 9:2780 and 9:2780.1.
            5
                Johnson v. Amoco Prod. Co., 5 F. 3d 949, at 953–54 (5th Cir. 1993).


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            within the anti-indemnity provision of the statute. Those provisions must be given

            meaning, they cannot be ignored, and, therefore, Phillips 66’s interpretation should be

            applied and Phillips 66’s Motion should be granted.

                   Phillips 66 addresses this point more fully in its Memorandum in Opposition to

            Blanchard’s Motion for Summary Judgment (Doc. 37), which Phillips 66 adopts by

            reference herein.

                                                      Respectfully Submitted:

                                                        /s/ Michael deBarros
                                                      Glenn M. Farnet (#20185) [Lead Attorney]
                                                      glenn.farnet@keanmiller.com
                                                      John F. Jakuback (#21643)
                                                      john.jakuback@keanmiller.com
                                                      Michael deBarros (#32422)
                                                      michael.debarros@keanmiller.com
                                                      KEAN MILLER LLP
                                                      400 Convention St., Suite 700
                                                      Baton Rouge, LA 70802
                                                      Telephone: 225-387-0999
                                                      Facsimile: 225-388-9133

                                                      Counsel for Phillips 66 Company


                                        CERTIFICATE OF SERVICE

                   I hereby certify that a copy of the above and foregoing was filed electronically

            with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all

            counsel of record by operation of the Court’s electronic filing system.

                   Baton Rouge, Louisiana, this 2nd day of July, 2018.


                                                /s/ Michael deBarros
                                               Michael J. deBarros

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